                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:   3:13-CR-45-TAV-CCS-23
                                                )
AARON WAYNE SNELSON,                            )
                                                )
              Defendant.                        )


                             MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Doc. 1433]. In the defendant’s motion, the defendant requests that the Court

resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

government has responded [Doc. 1458]. The government defers to the Court’s discretion

whether and to what extent to grant any such reduction, subject to the limitations of 18

U.S.C. § 3582(c)(2) and section 1B1.10 of the United States Sentencing Guidelines

Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in section 3553(a) to
      the extent that they are applicable, if such a reduction is consistent with
      applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

that the defendant is eligible for a sentence reduction, then “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would

have been applicable to the defendant had the relevant amendment been in effect at the

time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

than substituting Amendment 782 for the corresponding provision applicable when the
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defendant was originally sentenced, the Court “shall leave all other guideline application

decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

term “less than the term of imprisonment the defendant has already served.” Id. §

1B1.10(b)(2)(A), (C). Section 1B1.10 provides one exception to the rule that a defendant

may not receive a sentence below the amended guideline range—namely, if the defendant

originally received a below-guideline sentence “pursuant to a government motion to

reflect the defendant’s substantial assistance to authorities.” U.S. Sentencing Guidelines

§ 1B1.10(b)(2)(B). In such cases, the Court may grant “a reduction comparably less than

the amended guideline range.” Id.

         In addition to these limits, section 1B1.10 states that a court must also consider the

§ 3553 factors and the danger to the public created by any reduction in a defendant’s

sentence. Id. at cmt. n.1(B). A court may further consider a defendant’s post-sentencing

conduct. Id.

II.      Factual Background

         The defendant pleaded guilty to conspiring to manufacture at least five grams of

methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(B) [Doc. 844].

At the time of sentencing, the defendant was held responsible for 17 grams of actual

methamphetamine [Presentence Investigation Report (“PSR”) ¶ 25]. Given the amount

of drugs for which the defendant was held responsible, the defendant’s base offense level

was 26 [Id. ¶ 39]. The defendant received a three-level reduction for acceptance of

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responsibility pursuant to section 3E1.1(a) and (b), which resulted in a total offense level

of 23 [Id. ¶¶ 46–48].     Given the defendant’s criminal history category of IV, the

defendant’s applicable guideline range was 70 to 87 months’ imprisonment [Id. ¶¶ 60,

91].

       Before sentencing, the United States filed a motion for downward departure in

light of the defendant’s substantial assistance [Doc. 802]. The Court granted that motion

and sentenced the defendant to 51 months’ imprisonment, which is 27 percent below the

guidelines range [Doc. 844]. According to the government, the defendant is presently

scheduled for release on December 2, 2015 [Doc. 1458].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

Sentencing Guidelines Manual App. C, amend. 782.            Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on

November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.

       Applying Amendment 782, the defendant’s revised base offense level is 24, and

affording the defendant the same adjustments the defendant originally received, the

defendant’s new total offense level is 21.          U.S. Sentencing Guidelines Manual

§ 1B1.10(b)(1). A total offense level of 21 and a criminal history category of IV results

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in an amended guideline range of 57 to 71 months’ imprisonment. Thus, the defendant

was sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission.

      Next, the Court must determine whether a sentence reduction is consistent with

applicable policy statements issued by the Sentencing Commission. See U.S. Sentencing

Guidelines Manual § 1B1.10.       “[T]o satisfy the second requirement, a guidelines

amendment must have had the effect of lowering the defendant’s applicable guideline

range.” Riley, 726 F.3d at 758 (internal quotation marks and citations omitted). As

discussed, that is the case here. And it would be consistent with the applicable policy

statements to sentence the defendant below the “minimum of the amended guideline

range” because the defendant previously received a below-guidelines range sentence

“pursuant to a government motion to reflect the defendant’s substantial assistance to

authorities.” U.S. Sentencing Guidelines Manual § 1B1.10(b)(2)(A), (B).

      The Court will now consider the § 3553(a) factors in determining whether and to

what extent the defendant’s sentence may be reduced. As an initial matter, the Court

determines that factors similar to the ones that applied at the defendant’s initial

sentencing also apply at this time. Even so, in regard to these factors and in the context

of the instant motion, the Court has considered the nature and circumstances of the

defendant’s   offense—conspiring      to   manufacture     at   least   five   grams     of

methamphetamine—and the defendant’s history and characteristics.




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       The Court has also considered the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical

care, or other correctional treatment.1 Further, the Court has considered the kinds of

sentences available and the sentencing range, the need to avoid unwarranted disparities,

and the need to provide restitution to any victims. See 18 U.S.C. § 3553(a). And the

Court has considered the danger to the public as the result of any reduction in the

defendant’s sentence, the seriousness of the defendant’s offenses, and the need to protect

the public. See U.S. Sentencing Guidelines Manual § 1B1.10, cmt. n.1(B). The Court

also notes that the defendant has not incurred any disciplinary sanctions while

incarcerated. See id.

       Accordingly, after considering section 1B1.10 and the relevant § 3553(a) factors,

the Court finds a reduction in the defendant’s sentence to be appropriate. The Court will

reduce the defendant’s sentence in accordance with the amended guidelines range and by

an amount “comparably less than the amended guideline range.”              U.S. Sentencing

Guidelines Manual § 1B1.10(b)(2)(B).        In making this determination, the Court is

particularly influenced by the changes in offense levels affected by Amendment 782.

The Court has also taken into consideration the risk the defendant poses to public safety,


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         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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the nature and circumstances of the defendant’s offense, the defendant’s personal

characteristics, criminal history, and post-sentencing conduct.

IV.    Conclusion

       For the reasons stated herein, the defendant’s motion [Doc. 1433] is GRANTED

and the defendant’s sentence is REDUCED to 42 months’ imprisonment.               If this

sentence is less than the amount of time the defendant has already served, the sentence

shall be reduced to a “time served” sentence.        U.S. Sentencing Guidelines Manual

§ 1B1.10(b)(2)(C).

       Except as otherwise provided in this order, all provisions of the judgment dated

November 18, 2013 [Doc. 844], shall remain in effect. The effective date of this order is

November 2, 2015. U.S. Sentencing Guidelines Manual § 1B1.10(e)(1).

       IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




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